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         < Details           Inventory Record                 PDF


          Channelization Devices/Medians
          N/A


          EXEMPT Sign (R15-3)
          No, crossing is not exempt


          ENS Sign (1-13) Displayed
          Yes




          Other MUTCD Signs
          No



          Other MUTCD Signs (count)
          0




          Other MUTCD Signs (Specify Type)
          N/A


          Other MUTCD Signs (count)
          0



          Other MUTCD Signs (Specify Type)
          N/A


          Other MUTCD Signs (count)
          N/A


          Other MUTCD Signs (Specify Type)
          N/A


          Private Crossing Signs (if private)
          N/A


          LED Enhanced Signs (List types)
          N/A


          Gate Arms (Roadway)
          0



          Gate Arms (Pedestrian)
          N/A


          r^ptp Pnnfini iratinn
